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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION

JEANNA NORRIS,                                      )
                      Plaintiff,                    )
                                                    )      No. 1:21-cv-756
-v-                                                 )
                                                    )      HON. PAUL L. MALONEY
SAMUEL L. STANLEY, JR., ET AL.,                     )
                 Defendants.                        )
                                                    )

      ORDER DENYING MOTION FOR TEMPORARY RESTRAINING ORDER

        This matter is before the Court on Plaintiff’s motion for a temporary restraining

order (ECF No. 3). Plaintiff’s lawsuit challenges the constitutionality of the COVID-19

vaccine mandate for all Michigan State University (“MSU”) employees, created and enforced

by Samuel L. Stanley, Jr., President of MSU; Dianne Byrum, Chair of the Board of Trustees

of MSU; Dan Kelly, Vice Chair of the Board of Trustees; Renee Jefferson, Pat O’Keefe,

Brianna T. Schott, Kelly Tebay, and Rema Vessar, Members of the Board of Trustees; and

John and Jane Does 1-10 (collectively, “Defendants”).

       The decision to grant or deny a temporary restraining order falls within the discretion

of a district court. See Ohio Republican Party v. Brunner, 543 F.3d 357, 361 (6th Cir. 2008)

(“The district court’s decision to grant a temporary restraining order, when appealable, is

reviewed by this court for abuse of discretion.”). Under Rule 65, a court may issue a

temporary restraining order, without notice to the adverse party, only if two conditions are

met. Fed. R. Civ. P. 65(b)(1). First, the moving party must establish specific facts through an

affidavit or a verified complaint showing that an immediate and irreparable injury will result to
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the moving party before the adverse party can be heard in opposition to the motion. Fed. R. Civ.

P. 65(b)(1)(A). Second, the counsel for the moving party must certify in writing any efforts made

to give notice and the reasons why notice should not be required. Fed. R. Civ. P. 65(b)(1)(B). In

addition, the court must consider each of four factors: (1) whether the moving party

demonstrates a strong likelihood of success on the merits; (2) whether the moving party

would suffer irreparable injury without the order; (3) whether the order would cause

substantial harm to others; and (4) whether the public interest would be served by the order.

Ohio Republican Party, 543 F.3d at 361 (quoting Northeast Ohio Coalition for Homeless

and Service Employees Int’l Union v. Blackwell, 467 F.3d 999, 1009 (6th Cir. 2006)). The

four factors are not prerequisites that must be met, but are interrelated concerns that must

be balanced together. See Northeast Ohio Coalition, 467 F.3d at 1009.

       The Court finds that Plaintiff has not met her burden.

Factor 1: Substantial Likelihood of Success on the Merits

       Under the first factor, Plaintiff has not demonstrated a strong likelihood of success on

the merits of her claim. The Plaintiff alleges a substantial likelihood of success on the merits

on three grounds. First, she alleges that MSU’s COVID-19 vaccine mandate violates her

Ninth and Fourteenth Amendments right to privacy by forcing her to receive an unwanted

and unnecessary vaccine. However, there is directly contradictory Supreme Court precedent.

In Jacobson v. Massachusetts, 197 U.S. 11 (1905), the Supreme Court upheld a

Massachusetts law that allowed cities to require residents to be vaccinated against smallpox

based on the state’s valid exercise of its police power to protect the health and safety of its

citizens. See id. at 38. The Supreme Court further established a rational basis standard of


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review for vaccination mandates. See generally id. Moreover, in a persuasive case recently

decided in the U.S. District Court for the Northern District of Indiana, the district court

denied the plaintiffs’—students at Indiana University—motion for preliminary injunction to

prevent the university from enforcing its vaccine mandate for students. See Klaassen v. Trs.

of Indiana, No. 1:21-CV-238 DRL, 2021 WL 3073926 (N.D. Ind., July 18, 2021). The

district court conceded that although students retain the right to refuse unwanted medical

treatment, the Fourteenth Amendment permits Indiana University to require its students to

be vaccinated to protect the public health of its students, faculty, and staff. See id. at *46.

And on appeal, the Seventh Circuit reiterated that under Jacobson, vaccination mandates are

subject to a rational basis standard of review. See Klaassen v. Trs. of Indiana, No. 21-2326,

2021 WL 3281209, at *1 (7th Cir., Aug. 2, 2021). This Court finds the Klaassen opinion to

be persuasive authority, as there is no binding Sixth Circuit precedent to consult.

       Plaintiff’s second argument that she has a substantial likelihood of success on the

merits rests on the Due Process Clause of the Fourteenth Amendment in that no state may

“deprive any person of life, liberty, or property, without due process of law . . . .” U.S. Const.

amend. XIV, sec. 1. Although Plaintiff does not directly assert that she is a for-cause

employee, she does argue that she has a property interest in her employment and benefits at

MSU and thus cannot be denied this position without due process of the law—i.e., for refusing

to receive the COVID-19 vaccine and being terminated as a result. In Michigan, it is

presumed that Plaintiff is an at-will employee. See Lytle v. Malady, 579 N.W.2d 906, 910

(Mich. 1998) (“Generally, and under Michigan law by presumption, employment

relationships are terminable at the will of either party.”). Therefore, due to Plaintiff’s at-will


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employment status, she does not have a constitutionally protected property interest in her

employment position and this claim is without merit. See Bd. of Regents of State Colls. v.

Roth, 408 U.S. 564 (1972).

       Third and finally, Plaintiff argues that she demonstrated a substantial likelihood of

success on the merits because MSU’s vaccine mandate fails to give her the option to refuse

the vaccine under the federal Emergency Use Authorization (“EUA”) statute. See 21 U.S.C.

§ 360bbb-3. Under the EUA, the FDA can issue the emergency use of a vaccine that has not

yet received FDA approval, licensing, or been cleared for commercial distribution due to a

potential emergency. See id. § 360bbb-3(a)(2). However, the EUA further requires that in

such a scenario, one of the conditions of the authorization of an unapproved product is to

allow the individual to whom the product is administered to be given “the option to accept

or refuse administration of the product.” Id. § 360bbb-3(e)(1)(A)(ii)(III). Here, Plaintiff

alleges that she has not been given the option to refuse administration of the COVID-19

vaccine. However, on August 23, 2021, the FDA approved the Pfizer Comirnaty COVID-

19 Vaccine. See FDA Approves First COVID-19 Vaccine, FDA (Aug. 23, 2021),

https://www.fda.gov/news-events/press-announcements/fda-approves-first-covid-19-vaccine.

Consequently, should Plaintiff be offered the FDA-approved Pfizer Comirnaty vaccine, her

argument under the EUA statute would be moot, as she would not be entitled the option to

refuse the vaccine. Thus, Plaintiff has failed to demonstrate a substantial likelihood of success

on the merits on EUA grounds as well.

       Taking all of these arguments into consideration, because Plaintiff does not have a

constitutionally protected property interest in her employment position at MSU and is not


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being denied any constitutional rights under the Fourteenth Amendment, nor is employment

a fundamental right under the United States Constitution, this matter will receive rational

basis scrutiny. See League of Indep. Fitness Facilities & Trainers, Inc. v. Whitmer, 814 F.

App’x 125, 128 (6th Cir. 2020) (explaining that Governor Whitmer’s COVID executive

orders merely required a “rational speculation” standard that only offered conceivable

support). And for Plaintiff to win under this standard of review, Plaintiff must show that

MSU’s vaccine mandate is not rationally related to a legitimate governmental interest, i.e.,

the health and safety of the public. Plaintiff is unlikely to win under rational basis review.

Therefore, at this stage, Plaintiff has not shown a substantial likelihood of success on the

merits.

Factor 2: Showing of Irreparable Injury

          Further, under the second factor, Plaintiff has failed to show irreparable harm that

will befall her before Defendants have an opportunity to respond to be granted a temporary

restraining order. See Fed. R. Civ. P. 65(b)(1)(A).

          In Plaintiff’s eyes, she has two options: receive the COVID-19 vaccine and give up

her constitutionally protected rights to bodily autonomy and privacy, or refuse to receive the

COVID-19 vaccine and risk termination of her job, a constitutionally protected property

interest. As such, Plaintiff argues that in either option, her constitutional rights will be

infringed upon, causing her an irreparable harm. But Plaintiff misconstrues what an

irreparable harm is. An irreparable harm is an extraordinary harm—one that cannot be fully

compensated by money damages. See Winter v. NRDC, 555 U.S. 7, 22 (2008). If Plaintiff




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can be properly compensated by monetary damages, she cannot show that she is facing an

irreparable harm necessary to receive a temporary restraining order.

       As Plaintiff will not receive the COVID-19 vaccine by August 31, 2021, she could

consequently be terminated by MSU for failing to receive the vaccine. And if this Court

determines during litigation that Plaintiff was wrongfully terminated, Plaintiff would indeed

have proper monetary compensation: her lost wages and benefits she did not receive during

her period of wrongful termination. These lost wages and benefits can be calculated to an

exact amount and are not speculative enough to warrant a temporary restraining order.

Therefore, Plaintiff has failed to show that she faces an irreparable injury in the event that

MSU terminates Plaintiff’s employment.

       Accordingly, because Plaintiff failed to show that she is substantially likely to succeed

on the merits of this case and that she will face an irreparable injury not compensable by

monetary damages, this Court need not address the public interest factor in Plaintiff’s

requested temporary restraining order. Plaintiff’s motion for a temporary restraining order

must be denied. Therefore,

       IT IS HEREBY ORDERED that Plaintiff must serve a copy of her complaint (ECF

No. 1), a copy of her motion for a temporary restraining order (ECF No. 3), and a copy of

this Order on Defendants as soon as reasonably possible and no later than Friday, September

3, 2021, by 5:00 pm. Plaintiff must also serve the Defendants with a proof of service and file

a proof of service with this Court as soon as reasonably possible.




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      IT IS FURTHER ORDERED that Defendants must file a response to the motion

for a preliminary injunction no later than Friday, September 10, 2021, by 5:00 pm, and

Plaintiff may file a reply brief by Wednesday, September 15, 2021, by 5:00 pm.

      IT IS FURTHER ORDERED that the Parties shall appear for a hearing on the

preliminary injunction on Wednesday, September 22, 2021, at 9:00 am at the Federal

Building, 410 W. Michigan Ave., Kalamazoo, MI 49007.

      IT IS SO ORDERED.

Date: August 31, 2021                                   /s/ Paul L. Maloney
                                                       Paul L. Maloney
                                                       United States District Judge




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